        Case 22-14677-VFP          Doc 19    Filed 07/19/22 Entered 07/19/22 10:49:41            Desc Main
                                             Document Page 1 of 1
   Marie-Ann Greenberg, MAG-1284
   Marie-Ann Greenberg, Standing Trustee
   30 TWO BRIDGES ROAD
   SUITE 330
   FAIRFIELD, NJ 07004-1550
   973-227-2840
   Chapter 13 Standing Trustee
                                                                 UNITED STATES BANKRUPTCY COURT
                                                                 DISTRICT OF NEW JERSEY
   IN RE:
   TIMOTHY A MULLIGAN                                            Case No.: 22-14677VFP

                                                                 HEARING DATE: 08/04/2022

                           TRUSTEE'S OBJECTION TO CONFIRMATION OF PLAN


    Marie-Ann Greenberg, the Chapter 13 Standing Trustee by way of objection to the Debtor's proposed
plan respectfully objects as follows:
        The Debtor has failed to file all applicable Federal, State and local tax returns as required by 11
    U.S.C. Section 1308, in violation of 11 U.S.C. Section 1325(a)(9).
           Specifically, 2016 - 2021 Tax Years per IRS Claim.
        The Trustee did not receive the required documentation in advance of the 341 meeting. Therefore, a
     meaningful 341could not be conducted. The case will be presented for dismissal at confirmation.
        Debtor(s) failed to meet the requirements of 521(e)(2)(A)(i), in that the debtor(s) failed to produce a
     copy of the most recently filed pre-petition tax return or transcript thereof.
        Debtor(s):
                     Failed to make payments to the Standing Trustee as of July 1, 2022.


   WHEREFORE, Marie-Ann Greenberg, the Chapter 13 Standing Trustee prays that confirmation of the Debtor's
Chapter 13 plan in its present form be denied and the case be dismissed.


Dated: July 19, 2022                                              By:   /S/Marie-Ann Greenberg
                                                                        Marie-Ann Greenberg, Esquire
                                                                        Chapter 13 Standing Trustee
